Case 2:04-cr-20382-.]DB Document 42 Filed 07/11/05 Page 1 of 2 Page|D 50

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Plaintiff,
V. No. 04-20382-B/An
LEWELLYN MUHAMMAD,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Motion to Modify Bail Conditions filed on July 7, 2005.

This motion is referred to the United States Magistrate Judge for determination. Any
objections to the magistrate judge’s order shall be made within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections

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IT ls so 0RDERED this ‘6 day of July, 2005.

 

J. DANIEL BREEN \
1 o sTATEs DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 42 in
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Honorable J. Breen
US DISTRICT COURT

